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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

TAMPA DIVISION

LOUIS VENNELL,

Plaintiff,

v. CASE NO.

BLUESTEM BRANDS, INC.
d/b/a Fingerhut,

Defendant.

/
PLAINTIFE’S COMPLAINT

 

COMES NOW Plaintiff, LOUIS VENNELL (“Plaintiff”), by and through his attorneys,
KROHN & MOSS, LTD., and for his Complaint against Defendant, BLUESTEM BRANDS,
INC. d/b/a Fingerhut (“Defendant”), alleges and affirmatively states as follows:

INTRODUCTION

1. Plaintiff's Complaint is based on the Telephone Consumer Protection Act
(“TCPA”), 47 U.S.C. § 227, et seg. and the Florida Consumer Collection Practices Act
(FCCPA”), Fla. Stat. § 559.55 et seq..

. JURISDICTION AND VENUE

2, Jurisdiction of this court arises pursuant to 28 U.S.C. § 1331, 28 U.S.C. § 1367,
and 47 U.S.C, § 227.

3. Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) as the conduct giving rise to
this action occurred in this district as Plaintiff resides in this district and Defendant transacts

business in this district.
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PARTIES
4, Plaintiff is a natural person at all times relevant residing in Pinellas Park, Florida,
Pinellas County.
| 5. Plaintiff is a consumer as that term is defined by Fla. Stat. § 559.55(2) and owes

or allegedly owes a debt as that term is defined by Fla. Stat. § 559.55(1).

6. Defendant is a business entity incorporated in Delaware and headquartered at
6509 Flying Cloud Drv., Eden Prairie, Minnesota 55344.

7. Defendant acted through its agents, employees, officers, members, directors,
heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

FACTUAL ALLEGATIONS

8. In or before 2014, Defendant began placing telephone calls to (727) 515-82XX,
Plaintiff's cellular telephone.

9, Defendant called Plaintiff using telephone numbers (800) 503-2463, (800) 503-
2462, (800) 503-2370, (866) 836-8987, and (877) 503-6145.

10. Upon information and good faith belief, based on the frequency, number, nature
and character of these calls, Defendant used an automatic telephone dialing system or other
equipment capable of storing and/or producing telephone numbers (“auto dialer”) to call
Plaintiff.

ll. Defendant placed these calls to collect money from Plaintiff for purchases made
online or from a catalogue.

12. The purchases were for personal, family, and household use.

13.  Defendant’s calls to Plaintiff were for a non-emergency purpose.

14. On or before May 2, 2014, Plaintiff instructed Defendant to stop calling him.
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15. Plaintiff revoked any consent, actual or implied, for Defendant to use an auto
dialer to call her cell phone.

16. | Defendant continued to use an auto dialer to call Plaintiff's cell phone.

17. Defendant intended to use an auto dialer to call Plaintiff's cell phone.

18. Defendant knowingly, willfully, and voluntarily used an auto dialer to call
Plaintiff's cell phone.

19, Since May 9, 2014, Defendant used an auto dialer to call Plaintiffs cell phone at
least five hundred five (505) times.

20. On multiple occasions Defendant called Plaintiff four (4) and six (6) times in a
single day.

21. Defendant did not have Plaintiffs express consent to use an auto dialer to place
these calls.

22. Plaintiff felt harassed and annoyed as a direct and natural result of Defendant’s
repeated collection calls to his cel! phone.

COUNT I
TELEPHONE CONSUMER PROTECTION ACE

23.  Defendant’s actions alleged supra constitute numerous negligent violations of the
TCPA, entitling Plaintiff to an award of $500.00 in statutory damages for each and every
violation pursuant to 47 U.S.C. § 227(b)(3)(B).

24.  Defendant’s actions alleged supra constitute numerous and multiple knowing
and/or willful violates of the TCPA, entitling Plaintiff to an award of $1500.00 in statutory
damages for each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §
227(b)(3)(C).

WHEREFORE, Plaintiff respectfully requests judgment be entered against Defendant for
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the following:

25. Statutory damages of $500.00 for each and every negligent violation of the
TCPA pursuant to 47 U.S.C. § (b)(3)(B);

26. Statutory damages of $1500.00 for each and every knowing and/or willful
violation of the TCPA pursuant to 47 U.S.C. § (b)(3)(b) and 47 U.S.C. § (b)3\K(C);

27. All court costs, witness fees and other fees incurred; and

28. Any other relief that this Honorable Court deems appropriate.

COUNT TU
FLORIDA CONSUMER COLLECTION PRACTICES ACT

29. Plaintiff re-alleges and incorporates the foregoing paragraphs herein.
30. Defendant violated the FCCPA based on the following:
a) Defendant violated § 559.72(7) of the FCCPA by engaging in conduct
which can reasonably be expected to abuse or harass Plaintiff.
WHEREFORE, Plaintiff respectfully requests judgment be entered against Defendant for
the following:
31. Statutory damages pursuant to the Florida Consumer Collection Practices Act,
Fla, Stat. § 559.77(2),
32. Costs and reasonable attorneys’ fees pursuant to the Florida Consumer Collection
Practices Act, Fla. Stat. § 559.77(2),

33. Any other relief that this Honorable Court deems appropriate.
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RESPECTFULLY SWBMITTED,
By: (\ ;

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